        Case: 22-2704      Document: 63         Filed: 12/29/2023     Pages: 1
                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                  December 28, 2023


Clerk
United States Court of Appeals for the Seventh
Circuit
219 S. Dearborn Street, Room 2722
Chicago, IL 60604


      Re: Tony Evers, in His Official Capacity as Governor of Wisconsin
          v. Michael Dean, et al.
          No. 23-697
          (Your No. 22-2704)


Dear Clerk:

     The petition for a writ of certiorari in the above entitled case was filed on
December 22, 2023 and placed on the docket December 28, 2023 as No. 23-697.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Sara Simmons
                                        Case Analyst
